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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO.: 16-cv-21301-GAYLES


   SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

   V.

   ARIEL QUIROS,
   WILLIAM STENGER,
   JAY PEAK, INC.,
   Q RESORTS, INC,,
   JAY PEAK HOTEL SUITES L.P.,
   JAY PEAK HOTEL SUITES PHASE II. L.P.,
   JAY PEAK MANAGEMENT, INC.,
   JAY PEAK PENTHOUSE SUITES, L.P.,
   JAY PEAK GP SERVICES, INC.,
   JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
   JAY PEAK GP SERVICES GOLF, INC.,
   JAY PEAK LODGE AND TOWNHOUSES L.P.,
   JAY PEAK GP SERVICES LODGE, INC.,
   JAY PEAK HOTEL SUITES STATESIDE L.P.,
   JAY PEAK GP SERVICES STATESIDE, INC.,
   JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
   AnC BIO VERMONT GP SERVICES, LLC,

            Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

            Relief Defendants.

   Q BURKE MOUNTAIN RESORT, HOTEL
   AND CONFERENCE CENTER, L.P.,
   Q BURKE MOUNTAIN RESORT GP SERVICES, LLC',
   AnC BIO VT, LLC,2

            Additional Receivership Defendants.



   'See Order Granting Receiver's Motion to Expand Receivership dated April 22, 2016 [ECF No. 60],
   2See Order Granting Receiver's Motion for Entry of an Order Clarifying that AnC Bio VT, LLC is included in the Receivership
   or in the Alternative to Expand the Receivership to include AnC Bio VT, LLC, Nunc Pro Tune dated September 7, 2018 [ECF
   No. 493].


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                               RECEIVER'S SIXTH INTERIM REPORT

           Michael I. Goldberg, in his capacity as receiver (the "Receiver"), pursuant to the Order

   Granting Plaintiff Securities and Exchange Commission's Motion for Appointment of Receiver

   (the "Receivership Order") [ECF No. 13], dated April 13, 2016, respectfully files his Sixth

   Interim Report covering the period from July 1, 2018 up to and including April 30, 2019.3

                                       PRELIMINARY STATEMENT

            During the period covered by this report, the Receiver reached a significant settlement

   with Ariel Quiros ("Quiros"), where Quiros relinquished any interest he may have in the

   Receivership Entities, This settlement cleared the way for the Receiver to market and sell the

   Jay Peak Resort and other assets with Quiros having no remaining right, title, claims or interest

   whatsoever in the Receivership Entities, the Jay Peak Resort, the Burke Mountain Hotel, Jay

   Peak Mountain, and Burke Mountain, including but not limited to, any real or personal property

   related to or utilized by the Jay Peak Resort and Burke Mountain Hotel. The Court approved the

   retention of a financial advisor, Houlihan Lokey ("HL"), to assist the Receiver with the sale of

   the Jay Peak Resort.

           For the past two months, HL has been actively marketing the Jay Peak Resort to potential

   strategic and financial advisors throughout the United States, Europe and Asia. The Receiver is

   hopeful that a buyer can be located and a sales process can be concluded in 2019. The Receiver

   is not sure of what price the Jay Peak Resort will ultimately sell for, but it is highly doubtful that

   it will sell for a price sufficient to pay the Jay Peak investors in full. The Receiver and his

   professionals will do their best to obtain the highest possible price for the resort by conducting a

   3 For the purpose of brevity, the Receiver has endeavored not to restate information contained in the prior Status

   Reports, but refers all interested parties to those Status Reports for additional information including a detailed
   description of the Receivership Defendants and the events that led up to the appointment of the Receiver.



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   vigorous and fully transparent sales process. The proceeds of the sale of the Jay Peak Resort

   shall be, subject to the Court's approval, distributed on a pro-rata basis to all investors in the Jay

   Peak Resort Phase II — Phase VI.4 In the interim, the Receiver continues to sell smaller parcels

   of land that have no impact on the operation or sale of the other receivership properties. The

   proceeds of the sale of the smaller parcels have been deposited into the Receiver's operating

   accounts and used to cover receivership expenses.

   I.      BACKGROUND

           On April 12, 2016, the Securities and Exchange Commission ("SEC") filed a complaint

   ("Complaint") [ECF No. 1] in the United States District Court for the Southern District of

   Florida (the "Court") against the Receivership Defendants,5 the Relief Defendants,6 William

   Stenger and Ariel Quiros (collectively, the "Defendants"). The Complaint alleged that Mr.

   Quiros and Mr. Stenger, in violation of federal securities laws, controlled and utilized the various

   Receivership Entities in furtherance of a fraud on the investors who participated in limited

   partnerships offered under the federally created EB-5 visa program. The first six limited

   partnerships (Phase I — Phase VI) raised funds to develop and expand the Jay Peak ski resort and

   its accompanying facilities located in Jay, Vermont (the "Jay Peak Resort"). The seventh limited

   4 Phase I investors have already been paid from the proceeds of the settlement with Raymond James & Associates,
   Inc. See, ECF No. 353. Phase VII are the investors in the AnC Bio Project. Certain of the Phase VII investors have
   already received a refund on their principal investment. The Phase VII investors who have been approved as
   conditional residents were provided with the opportunity to receive a refund or redeploy their investment. As more
   fully described herein, as of the date of this report, the Receiver has either delivered a refund of their principal
   investment to the Phase VII investors or facilitated their redeployed into the One Wall Street Project.
   5 The "Receivership Defendants" are Jay Peak, Inc., Q Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel
   Suites Phase II L.P., Jay Peak Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP Services, Inc., Jay
   Peak Golf and Mountain Suites L.P., Jay Peak GP Services Golf, Inc., Jay Peak Lodge and Townhouse L.P., Jay
   Peak GP Services Lodge, Inc., Jay Peak Hotel Suites Stateside L.P., Jay Peak Services Stateside, Inc., Jay Peak
   Biomedical Research Park L.P., and AnC Bio Vermont GP Services, LLC.
   6 The "Relief Defendants" are Jay Construction Management, Inc., GSI of Dade County, Inc., North East Contract
   Services, Inc., and Q Burke Mountain Resort, LLC. Later, Q Burke Mountain Resort, Hotel and Conference Center,
   L.P. and Q Burke Mountain Resort GP Services, LLC were added as "Additional Receivership Defendants". The
   Receivership Defendants, Relief Defendants, and Additional Receivership Defendants are collectively referred to as
   the "Receivership Entities".



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  partnership, Phase VII, raised funds to purchase land and develop a biomedical research facility

  in Newport, Vermont (the "AnC Bio Project"). An eighth limited partnership, Phase VIII, which

  was not originally part of the receivership,7 funds to develop and expand the Burke Mountain

  Hotel and ski area located in East Burke, Vermont (the "Burke Mountain Resort").

           Along with the Complaint, the SEC requested the Court enter a temporary restraining

   order and a preliminary injunction preventing the Receivership Defendants from, among other

   things, transferring or otherwise utilizing their assets. On April 13, 2016, the Court entered the

   Receivership Order and granted the SEC's Emergency Ex Parte Motion for Temporary

   Restraining Order, Asset Freeze and Other Relief [ECF No. 4]. Among other things, the

   Receivership Order appointed Michael Goldberg as the receiver over the Receivership

   Defendants and the Relief Defendants. On April 22, 2016, the Court entered an Order expanding

   the receivership to include Q Burke Mountain Resort, Hotel and Conference Center, L.P. and Q

   Burke Mountain Resort GP Services, LLC as Additional Receivership Defendants [ECF No. 60].

   On September 7, 2018, the Court entered an Order granting Receiver's motion to clarify that

   AnC Bio VT, LLC is included in the receivership or to expand the receivership to include AnC

   Bio VT, LLC, nunc pro tunc to the inception of the case. [ECF No. 493]

            The SEC resolved its disputes with Mr. Quiros and Mr. Stenger. On February 5, 2018,

   the Court entered an Order [ECF No. 449] establishing a Fair Fund pursuant to Section 308(a) of

   the Sarbanes-Oxley Act of 2002 to allow the distribution of the civil penalties paid by Quiros and

   Stenger, along with the disgorgement and prejudgment interest paid by Quiros, to defrauded Jay

   Peak investors. On the same date, the Court entered Final Judgments against Mr. Quiros and Mr.

   Stenger setting forth the amount of disgorgement, prejudgment interest on disgorgement and



    See fn. 1.



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   civil penalty. The Final Judgment against Mr. Quiros [ECF No. 450, as amended by ECF No.

   474] holds him liable for $81,344,166 of disgorgement, representing profits gained as a result of

   the conduct alleged in the Amended Complaint, prejudgment interest on disgorgement of

   $2,515,798, and a civil penalty of $1,000,000, for a total of $84,859,964. The Final Judgment

   against Mr. Quiros also provides that Mr. Quiros shall satisfy his obligations by disgorging

   certain real property, including the rights to the Jay Peak and Burke Mountain resorts, and other

   assets to the Receiver.8 Mr. Quiros has executed deeds transferring ownership of properties to

   the Receiver.9     The Final Judgment against Mr. Stenger [ECF No. 451] ordered him to pay a

   $75,000 civil penalty (the SEC did not seek disgorgement from Mr. Stenger) in three

   installments. Mr. Stenger has completed payment of his civil penalty.

   II.     ACTIONS TAKEN BY THE RECEIVER DURING THE REPORTING PERIOD

           A.       Claims

            As more fully described in previous reports, on June 30, 2017 [ECF No. 353], the Court

   approved a settlement that the Receiver and other parties reached with Raymond James &

   Associates, Inc. ("Raymond James"), whereby Raymond James agreed to pay $150 million (in

   two tranches) in exchange for an order barring all claims against Raymond James (the "RJ

   Settlement").1° The vast majority of the proceeds of the RJ Settlement were eatinarked to pay the

   claims of the creditors of the Receivership Entities, reimburse investors who will be unable to

   obtain their citizenship, and provide benefit to other investors by funding improvements to the


    The Receiver is uncertain as to the value of these properties.
   9 On March 2, 2018, the Court entered an Order [ECF No. 458] modifying the asset freeze against Quiros [ECF No.
   11 and 238] solely to allow the transfer of certain bank accounts and real property to the Receiver in satisfaction of
   Quiros' disgorgement obligations. The asset freeze has recently been fully terminated upon Quiros satisfying all of
   his obligations under his settlement agreement with the SEC.
   1° The Receiver, through special counsel, filed a lawsuit against Raymond James and Quiros' former son-in-law,
   Joel Burstein, who was a branch manager at Raymond James, and the employee responsible for servicing Quiros'
   financial needs (Case No, I :16-cv-21831-JAL) (the "Raymond James Action") for among other causes of action,
   aiding and abetting breach of fiduciary duty.


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   Jay Peak Resort and Burke Mountain Resort which increase their value and create the requisite

   jobs needed for investors to meet their EB-5 job creation requirements. The Receiver has

   received all of the funds due under the RJ Settlement and has implemented the terms of the RJ

   Settlement. Importantly, in October 2018, the Receiver completed all construction relating to the

   Stateside Project (defined below) and, based on the reports of his economists, believes that

   enough jobs have now been created for every Jay Peak investor to meet their immigration

   requirements.

                   1.      Phase 1 — Phase V Investors

          The principal investment claims of the investors in Jay Peak Hotel Suites L.P. ("Phase I")

   have been fully satisfied. Phases II through Phase V consist of those individuals who invested in

   the partnerships11 that built the remaining phases of the Jay Peak Resort (excluding the Stateside

   Hotel). These partnerships funded the construction of the Jay Hotel, waterpark, golf course,

   hockey rink and Golf and Mountain Villas, among other assets. The Phase II — Phase V investors

   will receive a pro rata distribution of their equity interest from the proceeds of the sale of the Jay

   Peak Resort, along with Phase VI investors as referenced below. The Receiver is actively

   marketing the Jay Peak Resort for sale and is hopeful to complete a sale of the Jay Peak Resort

   this year. Due to the fact that Phase I investors have already been paid off, Phase II through

   Phase VI investors will benefit by receiving the proceeds of the sale of the Tram Haus which was

   funded by Phase I investors. The Receiver is not sure of what price the Jay Peak Resort will

   ultimately sell for, but it is highly doubtful that it will sell for a price sufficient to pay Phase II —

   Phase VI investors in full. The Receiver and his professionals will do their best to obtain the

   highest possible price for the resort by conducting a vigorous and fully transparent sales process.


   11 The partnerships are Receivership Defendants Jay Peak Hotel Suites Phase II L.P., Jay Peak Penthouse Suites
   L.P., Jay Peak Golf and Mountain Suites L.P., and Jay Peak Lodge and Townhouses L.P.


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           Over the past few years, the Receiver has focused on changing the Jay Peak Resort from

   mainly a ski resort to a year round resort in an effort to improve profitability. More specifically,

   the Jay Peak Resort is a well-known ski resort that attracts hundreds of thousands of people in

   the winter months generating millions of dollars in profit. However, in the summer months, the

   Resort's occupancy rate is much lower and the Jay Peak Resort loses money essentially eating

   into the profit it generates during the winter ski season. Although the Receiver considered the

   possibility of closing the Jay Peak Resort in the slow summer months, it was determined that

   such was not feasible because it would severely hamper the Resort's ability to attract and

   maintain the employee base necessary in the winter months as well as create additional

   problems. Therefore, the Receiver has focused on making changes to increase the Resort's off-

   season occupancy rate.

           To that end, with the Court's authorization, the Receiver completed the Recreational

   Center, eliminated the planned medical center and decreased the planned amount of cottages in

   Phase VI from 80 to 64 cottages.12 The savings from this allowed the Receiver to build athletic

   fields to attract soccer and lacrosse tournaments to the Jay Peak Resort in the off-season. The

   positive results of this decision are already paying off, as multiple tournaments have already

   been booked for the upcoming off-season, The Receiver and his management team believe that

   the addition of the athletic fields has been highly beneficial, as it will make the Jay Peak Resort

   more profitable.

            Although the Jay Peak Resort was built in phases, in reality, it is a single resort. It has

   common accounting, marketing, management and operations. It is impossible to separate the

   financial perfoiniance of one phase from another as, in many cases, the assets are physically

   12 The decision to reduce the amount of cottages from 80 to 64 will not affect the Jay Peak Resort because the Resort
   is only at full occupancy a few days of the year. Any loss of revenue by the reduction of these cottages is more than
   offset by the increased revenue generated by the athletic fields.


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   combined. Moreover, no single phase owns the mountain and its improvements (i.e.... ski lifts,

   tram, etc...), without which, they are essentially worthless. Therefore, it is the Receiver's

   opinion that the most equitable way to distribute the proceeds of the sale is on a pro-rata basis

   whereby each investor will receive an equal percentage of the sales proceeds. This decision, as

   all other major decisions, will be subject to review with the SEC and ultimately the Court's

   approval. Once the Jay Peak Resort is sold and the transaction is funded, the Receiver will file a

   motion with the Court to distribute the net sales proceeds to the investors. The Receiver is

   hopeful that this process can be completed this year.

                   2.      Phase VI Investors

           Phase VI consists of the investors who invested in Jay Peak Hotel Suites Stateside L.P.,

   which raised money to build the Stateside Hotel, 84 cottages, a recreational center and a medical

   center (collectively, the "Stateside Project"). As of the commencement of the receivership, only

   the Stateside Hotel was completed and 35 cottages were partially constructed.                  Upon the

   Receiver's motion, the Court entered an Order approving a modified plan for completion of the

   construction [ECF No. 330], which reduced the number of cottages to be completed from 84 to

   60 and eliminated the plans to build a medical center. Instead, the Receiver used those savings to

   build a more comprehensive recreational center and athletic fields, which will enhance revenue

   during the off-season. Construction of the cottages, recreation center and athletic fields have

   been completed.13      The revised project has created sufficient jobs for all of the Phase VI

   investors to pursue their citizenship. The Phase VI investors will also receive a pro rata return

   of their equity from the sale of the Jay Peak Resort as set forth in the previous section.




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                    3.       Phase VII Investors

           Receivership Defendant, Jay Peak Biomedical Research Park, L.P. solicited funds from

   the Phase VII Investors for the AnC Bio Project — what was purported to be a biomedical

   research facility to be built in Newport, Veiiiiont. As of the commencement of the Receivership,

   only approximately $5.5 million in construction had taken place on the biomedical research

   facility and most of the money raised from the Phase VII Investors had been wrongfully diverted.

   The Receiver was able to recover approximately $17.8 million remaining in escrow in one of the

   bank accounts frozen by the Court. With the Court's approval, the Receiver returned the escrow

   funds to all but one of the Phase VII Investors whose funds were traced to the escrow account.14

   Those investors fully assigned to the Receiver any claims they may have against the

   Receivership Entities and third parties.

           The Receiver provided the remaining Phase VII investors with the opportunity to receive

   a refund or redeploy their investment, depending on their status. For the 67 Phase VII investors

   who have already been approved as conditional residents, the Receiver provided them with the

   opportunity to redeploy to another qualifying project (the "One Wall Street Project") for the

   remainder of the sustainment period.                 Although not a guarantee, the Receiver and his

   professionals believe that redeployment offers these investors the best opportunity to meet the

   EB-5 requirements. All Phase VII investors have either been refunded their principal investment

   or redeployed to the One Wall Street Project.15 The receivership estate owes the Phase VII

   investors their administrative fee of $50,000 each. If the receivership estate generates sufficient


   14 On June 22, 2017, the sole investor who has yet to claim his funds from escrow filed a letter with the court [ECF
   No. 351] citing, among other things, that he has not submitted the documentation required by the Receiver for a
   refund. As of the date of this filing, the investor has still not submitted the requisite documentation for a refund and
   his funds remain in escrow.
   15 The Receiver has obtained a release from each Phase VII investor in exchange for tendering them their refund.
   The Receiver currently holds $2 million in escrow for four of these investors who asked the Receiver to temporarily
   retain their funds pending USCIS' s determination of their immigration status.


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   extra funds from litigation or the sale of the ANC Bio building and other non-Jay Peak Resort or

   Burke Mountain assets, the Receiver plans to establish a claims process to attempt to satisfy

   these claims.

                   4.       Phase VIII Investors

           Phase VIII consists of 121 investors who invested through Additional Receivership

   Defendant, Burke Mountain Resort, Hotel and Conference Center, L.P. to build the hotel and

   conference center on Burke Mountain.            Initially, Phase VIII was not included in the SEC

   Complaint. However, after the Receiver's appointment, he and his professionals determined that

   money from Phase VIII was wrongfully diverted to and commingled with, funds raised in other

   phases. Therefore, the Receiver requested the Court add Phase VIII to the receivership. The

   Court approved this request by Order dated April 22, 2016 [ECF No. 60].

            Originally, this project was to consist of a hotel and conference center, an aquatic center,

   a tennis center and a mountain bike facility.           However, as of the commencement of the

   receivership, only the hotel and conference center were completed. The Receiver's economist

   has estimated that Phase VIII is currently short of the job creation requirement. The Receiver is

    considering additional construction to increase job creation and is optimistic that sufficient jobs

    can be created for all Phase VIII investors to satisfy their EB-5 requirements.

            Phase VIII is the most challenging project of the receivership from a financial and

    immigration perspective for a several reasons. First, the construction of the hotel has failed to

    create enough jobs for all investors. Most recent estimates indicate that the project is short 60 to

    100 jobs (6 to 10 investors) and currently there is not enough jobs for up to 10 investors.

    Second, USCIS has terminated the Vermont Regional Center. The termination of the Regional

    Center arguably constitutes a "material change" under the immigration laws and may be a




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   significant problem for those investors who have not yet received approval of their 1-526

   petitions. The State of Vermont, which owns the Regional Center, is challenging USCIS's

   decision. Finally, the Burke Mountain Hotel has been operating at a loss16 and the Receiver has

   been forced to supplement its operations from other funds.                     The Receiver is using funds

   generated from litigation, settlements and the sale of other assets to subsidize the Burke

   Mountain Hotel's operations.17

            With respect to the first two issues, the Receiver is faced with a chicken-egg problem.

   The Receiver could invest more money into the Burke Mountain Hotel to create enough jobs for

   each investor, however, in the event the State of Vermont's appeal fails and the Regional Center

   is fully and finally terminated, such investment could be a waste of money in the event the

   additional investment does not create an concomitant increase in the sales price of the Burke

   Mountain Hotel. Investing additional funds only makes sense in the event the State of Veil _tont

   is successful in its challenge to the termination of the Regional Center or the increased

   investment will increase the eventual sales price of the hotel by the amount invested. Therefore,

    the Receiver is analyzing potential investments and pursuing a strategy of actively supporting the

    State of Vermont's appeal of the termination of the Regional Center and is also considering other

    action on his own to assist the Phase VIII investors.18 If successful, the Receiver will invest as

    much money as necessary, subject to the Court's approval, to create enough jobs as needed for

    each investor to meet their immigration requirements. Only after the Receiver is certain that he

    has done his best to protect the investors from an immigration perspective will he seek to sell the


    16
          The fact that the Burke Hotel is operating at a loss will have a concomitant effect on its value. Although an
    appraisal has not been undertaken, the Receiver currently believes that the Burke Hotel would sell for substantially
    less than is owed to Phase VIII investors.
    17 The Court has previously authorized the use of a portion of the proceeds of the settlements with Citibank N.A.
    [ECF No. 2311 and Raymond James & Associates, Inc. [ECF No. 315] to cover operating expenses.
    18 The Receiver is not detailing such potential action in this report for confidentiality reasons.




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   Burke Mountain Hotel, as it is the Receiver's belief that all investors were motivated to make

   this investment in order to obtain their green card.

           B.       Management of Vermont Properties

           The Receiver, with the assistance of the court-approved management company, Leisure

   Hotels, LLC ("Leisure") continue to operate the Jay Peak Resort and the Burke Mountain Hotel,

   Jay Peak Resort's General Manager, Steven Wright and Burke Mountain Hotel's General

   Manager, Kevin Mack also play an important role in the management of the resorts. The

   Receiver confers with the Leisure management team, Steven Wright and Kevin Mack on a

   regular basis to monitor the hotels' operations. Please see the Financial Affairs section of this

   report for more detailed information on the financial condition of the Jay Peak Resort and the

   Burke Mountain Hotel.

            C.      Future Plans to Sell the Jay Peak Resort and the Burke Mountain Hotel

                    1.      Jay Peak Resort

            The Receiver has reached the point in time where the Jay Peak is operating smoothly,

    construction is complete, and most importantly, all jobs necessary for every investor in Phases I

    through VI to qualify for 1-829 approval have been created. Moreover, due to the SEC's efforts,

    the Receiver has taken possession of the mountain and now control all assets related to the Jay

    Peak Resort. Therefore, the Receiver is now actively marketing the Jay Peak Resort for sale. To

    that end, the Receiver has negotiated an agreement with Houlihan Lokey, a prominent

    investment banker who specializes in sales transactions involving ski resorts, to represent the

    Receiver in connection with marketing the Jay Peak Resort. On January 7, 2019, the Court

    entered an Order granting the Receiver's Motion for Authorization to Retain Houlihan Lokey to

    Assist the Receiver in Connection with the Sale of the Jay Peak Resort [ECF No. 520].




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             To that end, HL has been actively marketing the Jay Peak Resort to potential strategic

   and financial buyers throughout the United States, Europe and Asia, As of the date of this report,

   HL has contacted 125 potential buyers as of May 3, 2019 and 26 of them have executed Non-

   Disclosure Agreements and are actively reviewing financial material and other documents

   related to the Jay Peak Resort maintained in a data room set up for the sales process.

                      2.       Burke Mountain Resort

              Since construction of the Burke Mountain Hotel has not yet generated sufficient jobs for

   all of the investors in the project, the Receiver has decided not to sell the hotel property at this

   junction. However, other portions of the land owned by Burke 2000 LLC are not necessary for

   the operation of the hotel and ski area. The Receiver can sell those tracts of land and bring

   additional revenue in to the receivership estate. The Receiver has identified a 71-acre tract of

   undeveloped land owned by Burke 2000 LLC, which can be divided into four lots and sold as

   separate parcels. On February 3, 2019, the Court granted the Receiver the authority to sell the

    71-acre tract of land [ECF No. 525] as well as a separate 3-acre parcel located near the entrance

   to the Burke Mountain Hotel [ECF No. 534]. The Receiver may continue to market stand-alone

    parcels prior to the sale of the Burke Mountain Hotel.

              E.       Litigation and Third Party Claims

                       1.      Ariel Quiros

              On December 19, 2018, after notice to all investors and other interested parties and

    hearing before the Court, the Court approved the settlement between the Receiver and Mr.

    Quiros (the "Quiros Settlement") and the entry of a bar order (the "Bar Order") enjoining claims

    against Mr. Quiros.19 Pursuant to the settlement, Mr. Quiros, on behalf of himself and anyone



    19   A Corrected Final Order was entered on January 10, 2019. See ECF No. 527.


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   that claims through him (including his wife and children) fully and forever waive any rights,

   title, claims or interest in or against any and all Receivership Entities and any and all real or

   personal property or other rights owned, used or possessed by the Receivership Entities in the

   operation of the Jay Peak Resort or the Burke Mountain Hotel and their related assets. The

   Quiros Settlement further provides that Mr. Quiros shall have no remaining right, title, claims or

   interest whatsoever in the Receivership Entities, the Jay Peak Resort, the Burke Mountain Hotel,

   Jay Peak Mountain, Burke Mountain, including but not limited to, any real or personal property

   related to or utilized by the Jay Peak Resort and Burke Mountain Hotel. The Quiros Settlement

   resolves Mr. Quiros' claims to any of the Receivership Entities, their property or proceeds of

   their sale so the Receiver may undertake a sales process of the Jay Peak Resort and Burke

   Mountain Hotel and their related assets and distribute the proceeds of those sales, subject to

    Court approval, to the Investors who may be entitled to share in such distribution, as to be

    determined by the Court.

            The Bar Order enjoins all persons (excluding the limitations set forth below) from

    commencing or continuing litigation or pursuit of other claims against Mr. Quiros that relate in

    any manner to the events, transactions and circumstances alleged in this case. As negotiated

    among the Receiver, Mr. Quiros and certain interested parties, the Bar Order does shall not apply

    (i) to the United States of America, its agencies or departments, or to any state or local

    government and its agencies or departments; (ii) Citibank, N.A.; (iii) People's United Financial,

    Inc. and People's United Bank, N.A.; (iv) the Ad Hoc Group of Investors; (v) to the settling

    parties' respective obligations under the Settlement Agreement; or to (vi) any request by anyone

    for discovery from Mr. Quiros or any entity which he controls or has an ownership interest,

    including but not limited to the service or enforcement of legally authorized subpoenas for




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   documents, deposition or information, in actions or proceedings not barred by the Order. This

   settlement has no effect on potential criminal charges against Mr. Quiros.

                   2.      Quiros v. Ironshore Indemnity, Inc.

           From 2011, and until August 2016, Receivership Defendant Q Resorts, Inc., and its

   subsidiaries, officers and directors were insured under a $10 million Directors, Officers and

   Private Company Liability Insurance Policy issued by Ironshore Indemnity, Inc. ("Ironshore").

   On April 15, 2016, after the commencement of this case and the appointment of the Receiver,

   Mr. Quiros and Mr. Stenger requested coverage from Ironshore. Thereafter, the Receiver

   requested coverage on behalf of the Receivership Entities, as additional insureds under the

   policies. Ironshore denied coverage, claiming that this case related back to the SEC's prior

   investigation, and that the investigation was a covered "claim" under the Policies that should

   have been reported.

           After Ironshore denied coverage to Mr. Quiros, he filed an action seeking a declaration

    that he is entitled to insurance coverage from Ironshore. This action is captioned Quiros v.

    Ironshore Indemnity, Inc., No. 16-cv-25073 (S.D. Fla.) and pending before the Honorable

    Marcia G. Cooke (the "Ironshore Action").            In mid-2017, the Receiver intervened in the

    Ironshore Action to protect the interests of the Receivership Entities in insurance policies. After

    multiple settlement discussions and two failed mediations, in December 2018, the Receiver, Mr.

    Quiros, Mr. Stenger and Ironshore reached a settlement. In exchange for a settlement payment in

    the amount of $1,900,000 from Ironshore, the Receiver, on behalf of the Receivership Entities,

    Mr. Stenger and Mr. Quiros and have agreed (i) to settle and compromise all claims for coverage

    under the Ironshore insurance policies ("Policies") and all claims related to Ironshore's payment

    of funds to any person or entity arising out of or related to the claims made against any Insured




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   (as defined in the Policies) in this case or in any other action, and (ii) to obtain entry of a bar

   order enjoining any person from bringing any claims which directly or indirectly arise from or

   relate to the Policies or to any other contract or agreement with Ironshore (the "Ironshore

   Settlement"). Of the $1,900,000 payable by Ironshore pursuant to the Settlement Agreement, the

   Receiver anticipates receiving $837,500, Mr. Quiros anticipates receiving $837,500, and Mr.

   Stenger anticipates receiving $225,000. These amounts may change in the event any of the

   proceeds must be used to resolve challenges to entry of the Bar Order.

            The Receiver filed a Motion to approve the Ironshore Settlement, for entry of a bar order

   and to approve the form of notice to all interested parties [ECF No. 523]. Saint-Sanveur Valley

   Resorts, Inc. ("SSVR"), the defendant in Goldberg v. Saint-Sauveur Valley Resorts, Inc.,

   pending in the United States District Court for the District of Vermont (the "Vermont Action")

   filed an objection to the Ironshore Settlement, asserting that the proposed bar order could

   adversely affect its defense of the Vermont Action and bar its counterclaims against the Receiver

    and third-party claims against Mr. Stenger, Mr. Quiros, the Receivership Entities and third

    parties. Mr. Quiros' former attorneys, Leon Cosgrove, LLC and Mitchell, Silberberg & Knupp

    (the latter firm was also formerly counsel to the Receivership Entities) also filed an objection

    claiming they are owed money. On April 4, 2019, the Court entered an Order approving the

    settlement [ECF No. 554] and an Order barring, restraining and enjoining claims against

    Ironshore (the "Ironshore Bar Order") [ECF No. 555]. The former attorneys have filed a Notice

    of Appeal of the Ironshore Bar Order.

                    3.      Goldberg v. Kelly

            The Receiver filed a Complaint against William Kelly, the former owner of Relief

    Defendant North East Contract Services, Inc. ("NECS"), Goldberg v. Kelly, Case No. 17-cv-




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   62157 (S.D. Fla.). The claims against Kelly arise from allegedly improper payments NECS

   and/or Kelly received from Receivership Defendant AnC Bio Vermont GP Services LLC in

   connection with the now defunct AnC Bio Project. The Receiver asserts that Kelly wrongfully

   assumed control of the improperly paid funds and subsequently diverted the funds to other

   recipients instead of returning the funds. The case is still in the discovery phase.

                    4.      Claims Against Other Third Parties

           The Receiver and his professionals continue to investigate and evaluate potential claims

   against other persons and companies involved with the Receivership Entities. The Receiver's

   litigation attorneys have prepared subpoenas duces tecum to professionals who previously

   performed work with the Receivership Entities as part of their investigation of possible claims

   that may be asserted by the Receiver and in order to identify concealed or fraudulently

   transferred receivership assets and causes of action. The Receiver intends to pursue recovery of

   fraudulently transferred assets or the proceeds thereof from third parties. The Receiver has

   negotiated tolling agreements with a number of other third parties.

                    5.      Document Recovery

            The Receiver continues to maintain and update an electronic database to store documents

    produced by financial institutions and all pre-receivership servers and other data recovered from

    the files of the Defendants. An e-discovery vendor hosts such electronic files and permits the

    Receiver's professionals searchable access, This system also allows the Receiver's professionals

    to share information and efficiently respond to discovery requests in related litigation.




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   III.     FINANCIAL AFFAIRS2°

            A.       Bank Accounts

            The Receivership Entities' financial accounts were frozen pursuant to the Receivership

   Order. The Receivership Order also provides the Receiver with control and signatory authority

   for all financial accounts. See Receivership Order, ¶ 7. The Receiver and his staff maintain

   receivership bank accounts and pay administrative expenses. The Receiver's staff has opened

   new bank accounts for the purpose of segregating the proceeds of the RJ Settlement and

   distributing payment to investors, contractors and other creditors.

            Attached to this Report as Exhibit "A" is a Standard Fund Accounting Report ("SFAR")

   for the period of July 1, 2018 — December 31, 2018, and cash flow statements for the operating

   Receivership Entities detailing the Receivership Entities' business operations.

            B.       Jay Peak Resort

                     1.       Ski Season

            Jay Peak continued its daily ski operations through Sunday, April 28, 2019, representing

    one of the longest continuous operating seasons in Jay Peak's history.21 Jay Peak closed for the

    midweek period of April 29, 2019 — May 3, 2019 and reopened for the first full weekend of May

    4, 2019. With just a few days remaining in fiscal year 2019, management is forecasting an

    approximate increase of 4% to top-line operational revenue. Moreover, the number of skier

    visits was 3.5% better than fiscal year 2018. (This is in spite of more weather-impacted ski

    days.) Likewise, the total rented rooms for fiscal year 2019 are forecasted to increase about 11%




    20 Because this receivership involves operating entities, the confidentiality of the Receivership Entities' financial
    data is important. Accordingly, the Receiver has not attached detailed financial statements to this report, but has
    instead provided a general summary. Should the Court want to review such detailed financial data, the Receiver
    shall provide the information to the Court in-camera.
    21 Snowfall was above average at 423 inches (but below the 491 inches experienced in fiscal year 2017).




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   over fiscal year 2018. Lift ticket sales revenue is forecasted at approximately 5% over fiscal

   year 2018.

              Waterpark visits are forecasted to increase about 7% over fiscal year 2018. Higher

   visitation rates and an increase in waterpark based lodging packages helped drive this increase.

   Resort food and beverage is forecasted at a record amount of 5% over fiscal year 2018. This has

   been driven by the increase in skier visits, waterpark visits and overall lodging nights at the

   hotels and condominiums.

              2.       Outlook

              For fiscal year 2020, management is budgeting for top-line revenue increase of 2% over

   fiscal year 2019. This is predicated on a modest increase to skier and waterpark visits, overall

   lodging nights and modest ticket yield increases across all categories with the exception of

   season pass revenue, which is forecasted to remain flat, due to competitive rates and the use of

   multi-resort pass products. Management also forecast a new source of revenue because of

    completion of the athletic fields, and bookings.

              C.       Burke Mountain Resort

                       1.       Ski Season

              The Burke Mountain Resort opened its winter operations on November 23, 2018, which

    was the earliest the slopes were open at Burke since the 1990's. Above average snowfal122 and

    early season cold temperatures (which allowed for efficient snowmaking, helped shape the

    winter season). The resort ceased winter operations on April 14, 2019, the first year in the

    resort's known history in which operations exceeded 130 days for a season. At the end of March

    (the mid-point in its fiscal year), the resort registered a 26% increase in sales. Other gains



    22   Snowfall averages 170 inches at Burke, but this season measured over 275 inches,


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   include: the number of skier visits increased 20%; season pass revenue was up 13%; hotel room

   nights increased 47%, pushing lodging revenue up 29%; and food and beverage sales gained

   26%. Although the Burke Mountain Resort is trending in the right direction, it is still losing

   money and the Receiver is supplementing its operations from the proceeds of litigation

   recoveries and the sale of Burke Mountain related properties.

                   2.       Sales Outlook

           The Bike Park opens on May 25, 2019. Last season saw triple digit growth in Bike Park

   visits. Management expects continued, but more measured growth this season. Current ski

   season pass sales for fiscal year 2020 are already up 17%. The resort has been nominated by Ski

   Are Management (the professional trade organization for mountain resorts) for a best marketing

   campaign aware for the winter season. The Burke Mountain Resort will maintain with a strong

   brand marketing campaign to continue to grow sales.

   IV.      ADMINISTRATION OF THE RECEIVERSHIP ESTATES

            The Receiver continues to utilize the skills of his professionals, including his general

    counsel Akerman LLP; special litigation and conflicts counsel Jeffrey Schneider and Levine

   Kellogg Lehman Schneider & Grossman LLP; and immigration counsel H. Ron Klasko and

    Klasko Immigration Law Partners. Soneet Kapila, CPA, and the accounting firm Kapila

    Mukamal provide accounting and forensic work for the Receiver.

            A.      Website/Ongoing Communications

            The Receiver continues to communicate with government officials, creditors, contractors

    and interested parties. The Receiver continues to respond to inquiries, usually through e-mail and

    telephone calls. The Receiver returned to Vermont in January for meetings. The Receiver and

    his staff continue to respond to inquiries from investors, creditors and other interested parties.




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   The Receiver continues to maintain a toll-free investor hotline at (800) 223-2234, an email

   address        for     general      inquiries      jaypeak(&,akerman.com,         and       a      website

   www.JayPeakReceivership.com to provide up to date information for investors and interested

   parties. The Receiver has posted copies of court filings, correspondence with investors and other

   pertinent information on the website. The Receiver has also prepared and posted numerous

   updates on his website, including letters to investors. The Receiver will continue to utilize the

   website as the primary method of communicating with investors, creditors and other interested

   parties throughout the receivership.

             B.     Recommendations

             The Receiver continues to secure and maintain the assets of the Receivership Entities,

   analyze the use of the individual partnership funds and respond to inquiries from the investors,

   creditors and other interested parties. The Receiver anticipates taking the following actions: (1)

    continue to operate and maintain the facilities until the best course of disposition is determined

   with the goal of each investor obtaining the highest possible return on their investment and

    achieving their unconditional green card; (ii) provide information to investors to satisfy their EB-

    5 job creation requirements; (iii) continue to pay the allowed claims of creditors and investors;

    (iv) investigate and commence litigation against third parties who may be liable for the

    perpetration of the Receivership Defendants' fraud; (v) continue to review transfers of the

    individual partnership funds and seek to recover funds which were fraudulently transferred; (vi)

    respond to inquiries from investors, creditors, government officials and interested parties; and

    (vii) provide updates through the receivership website.




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   Dated: May 20, 2019.

                                                    Respectfully submitted,

                                                    By: /s/ Michael I Goldberg
                                                    Michael I. Goldberg, Esq.
                                                    Florida Bar No. 886602
                                                    Email: michael.goldbergakei iiian.corn
                                                    AKERMAN LLP
                                                    Las Olas Centre II, Suite 1600
                                                    350 East Las Olas Blvd.
                                                    Fort Lauderdale, FL 33301-2229
                                                    Telephone: (954) 463-2700
                                                    Facsimile: (954) 463-2224
                                                    Court Appointed Receiver




                                       CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

   May 20, 2019 via the Court's notice of electronic filing on all CM/ECF registered users entitled

   to notice in this case as indicated on the attached Service List.



                                                     By: /s/ Michael I. Goldberg
                                                        Michael I. Goldberg, Esq.




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                                              SERVICE LIST


   1:16-cv-21301-DPG Notice will be electronically mailed via CM/ECF to the following:

        Robert K. Levenson, Esq.                          Christopher E. Martin, Esq.
        Senior Trial Counsel                              Senior Trial Counsel
        Email: levensonr@sec.gov                          Email: martinc@sec.gov
        almontei@sec,gov, gonzalezlm@sec,gov,             almontei@sec.gov, benitez-perelladaj@sec.gov
        jacqmeinv@sec.gov                                 SECURITIES AND EXCHANGE
        SECURITIES AND EXCHANGE                           COMMISSION
        COMMISSION                                        801 Brickell Avenue, Suite 1800
        801 Brickell Avenue, Suite 1800                   Miami, Florida 33131
        Miami, Florida 33131                              Telephone: (305) 982-6300
        Telephone: (305) 982-6300                         Facsimile: (305) 536-4154
        Facsimile: (305) 536-4154                         Attorneys for Plaintiff
        Attorneys for Plaintiff

        Roberto Martinez, Esq.                            Jeffrey C. Schneider, Esq.
        Email: bob@colson.com                             Email: jcs@lklsg.com
        Stephanie A. Casey, Esq.                          LEVINE KELLOGG LEHMAN
        Email: scasey@colson.com                          SCHNEIDER + GROSSMAN
        COLSON HICKS EIDSON, P.A.                         Miami Center, 22nd Floor
        255 Alhambra Circle, Penthouse                    201 South Biscayne Blvd.
        Coral Gables, Florida 33134                       Miami, Florida 33131
        Telephone: (305) 476-7400                         Telephone: (305) 403-8788
        Facsimile: (305) 476-7444                         Co-Counsel for Receiver
        Attorneys for William Stenger

        Jonathan S. Robbins, Esq.                             Naim Surgeon, Esq.
        jonathan.robbins@akerman.com                          naim.surgeon@akerman.com
        AKERMAN LLP                                           AKERMAN LLP
        350 E. Las Olas Blvd., Suite 1600                     Three Brickell City Centre
        Ft. Lauderdale, Florida 33301                         98 Southeast Seventh Street, Suite 1100
        Telephone: (954) 463-2700                             Miami, Florida 33131
        Facsimile: (954) 463-2224                             Telephone: (305) 374-5600
        Attorney for Receiver                                 Facsimile: (305) 349-4654
                                                              Attorney for Receiver

        David B. Gordon, Esq.                                 Jean Pierre Nogues, Esq.
        Email: dbg@msk.com                                    Email: jpn@msk.com
        MITCHELL SLLBERBERG & KNOPP, LLP                      Mark T. Hiraide, Esq.
        12 East 49th Street — 30th Floor                      Email: mth@msk.com
        New York, New York 10017                              MITCHELL SILBERBERG & KNOPP, LLP
        Telephone: (212) 509-3900                             11377 West Olympic Blvd.
        Co-Counsel for Ariel Quiros                           Los Angeles, CA 90064-1683
                                                              Telephone (310) 312-2000
                                                              Co-Counsel for Ariel Quiros


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      Mark P. Schnapp, Esq.                                J. Ben Vitale, Esq.
      Email: schnapp@gtlaw.com                             Email: bvitale@gurleyvitale.com
      Mark D. Bloom, Esq.                                  David E. Gurley, Esq.
      Email: bloomm@gtlaw.com                              Email: dgurley@gurleyvitale.com
      Danielle N. Garno, Esq.                              GURLEY 'VITALE
      E-Mail: garnod@gtlaw.com                             601 S. Osprey Avenue
      GREENBERG TRAURIG, P.A.                              Sarasota, Florida 32436
      333 SE 2nd Avenue, Suite 4400                        Telephone: (941) 365-4501
      Miami, Florida 33131                                 Attorneys for Blanc & Bailey Construction,
      Telephone: (305) 579-0500                            Inc.
      Attorneys for Citibank

      Stanley Howard Wakshlag, Esq.                        Melissa Damian Visconti, Esquire
      Email: swakshlag@knpa.com                            Email: mdamian@dvllp.com
      KENNY NACHWALTER, P.A.                               DAMIAN & VALOR! LLP
      Four Seasons Tower                                   1000 Brickell Avenue, Suite 1020
      1441 Brickell Avenue                                 Miami, Florida 33131
      Suite 1100                                           Telephone: 305-371-3960
      Miami, FL 33131-4327                                 Facsimile: 305-371-3965
      Telephone: (305) 373-1000                            Attorneys for Ariel Quiros
      Attorneys for Raymond James & Associates
      Inc.

       Stephen James Binhak, Esquire                       Laurence May, Esquire
       THE LAW OFFICE OF STEPHEN JAMES                     EISEMAN, LEVIN, LEHRHAUPT &
       BINAK, P.L.L.C.                                     KAKOVIANNIS, P.C.
       1221 Brickell Avenue, Suite 2010                    805 Third Avenue
       Miami, Florida 33131                                New York, New York 10002
       Telephone: (305) 361-5500                           Telephone: (212) 752-1000
       Facsimile: (305) 428-9532                           Co-Counsel for Attorney for Saint-Sauveur
       Counsel for Attorney for Saint-Sauveur Valley       Valley Resorts
       Resorts




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    AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
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                              EXHIBIT A
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                            Michael I. Goldberg, Receiver
                            Las Olas Centre II — Suite 1600
                              350 E. Las Olas Boulevard
                            Ft. Lauderdale, Florida 33301
                                (954) 463-2700 (Main)
                              (800) 223-2234 (Toll Free)



                  STANDARDIZED FUND
                  ACCOUNTING REPORT

                           Civil — Receivership Fund


               SECURITIES & EXCHANGE COMMISSION

                                          vs.

                             ARIEL QUIROS, et al.

                       Case No.: 16-cv-21301-GAYLES



                  Reporting Period: 07/01/2018 — 12/31/2018
Case 1:16-cv-21301-DPG Document 564 Entered on FLSD Docket 05/20/2019 Page 27 of 35
                                 STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership)
                                                        SEC v. Quiros, et al.
                                                  Case No.: 16-ev-21301-GAYLES
                                              Reporting Period 07/01/2018 to 12/31/2018



               FUND ACCOUNTING (See Instructions):
                                                                                                 Detail             Subtotal        Grand Total
               Line 1           Beginning Balance (As of 06/30/2018):                      $                -   $           -   $    24,712,207,95
                                Increases in Fund Balance:
               Line 2           Business Income                                            $             ..
               Line 3           Cash and Securities (UNrestricted)                         $    3,077,223.40
               Line 3           Cash and Securities (RESTRICTED)                           $             -
               Line 4           Interest/Dividend income                                   $       47,401.61
               Line 6           Business Asset Liquidation                                 $
               Line 6           Personal Asset Liquidation                                 $                -
               Line 7           Third-Party Litigation Income                              $                -
               Line 8           Miscellaneous - Other                                      $                -
                                  Total Funds Available (Lines 1— 8);                                                           $    27,836,832.96
                                Decreases in Fund Balance:
               Line 9           Disbursements to Investors                                                                      $                    -
               Line 10          Disbursements for Receivership Operations                                                       $
                   Line   10a   Disbursements to Receiver or Other Professionals           $      715,063.33
                   Line   10b   Business Asset Expenses                                    $    5,416,050.14
                   Line   10c   Personal Asset Expenses                                    $
                   Line   10d   Investment Expenses                                        $             -
                   Line   10e   Third-Party Litigation Expenses                            $             -
                                       1. Attorney Fees                                    $      492,480,18
                                       2. Litigation Expenses                              $
                                  1..-ekql..T.P.kg.:EqqKfri.gagtion ExpqnseS               $                -
                   Line 10f Tax Administrator Fees and Bonds                               $             -
                   Line log Federal and State Tax Payments                                 $      (38,275.62)
                             Total Disbursements for Receivership,Opqrations                                                    $     (1§115,q118.03
               Line 11      Disbursements for Distribution Expenses Paid by the Fund:
                   Line lie    Distribution Plan Development Expenses:
                                1.Fees:                                          $                          .
                                     Fund Administrator                          $                          -
                                     Independent Distribution Consultant (tDc)   $                          -
                                     Distribution Agent                          $                          -
                                     Consultants                                 $                          -
                                     Legal Advisers                              $                          -
                                     Tax Advisers                                $                          -
                                2. Administrative Expenses                       $                          -
                                3. Miscellaneous                                 $                          -
                                Total Plan Development Expenses                                                                 $               -
                   Line 11b        Distribution Plan Implementation Expenses:
                                    1.Fees:                                                             $   .
                                         Fund Administrator                                             $   .
                                         IDC                                                            $   -
                                         Distribution Agent                                             $   .
                                         Consultants                                                    $   -
                                         Legal Advisers                                                 $   -
                                         Tax Advisers                                                   $
                                    2. Administrative Expenses                                          $   -
                                    3. Investor Identification:                                         $
                                         NotIce/PubilshIng Approved Plan                                $
                                         Claimant Identification... ......... ......................... $   -
                                         Claims Processing                                              $   -
                                         Web Site Maintenance/Call Center.                              $   -
                                    4. Fund Administrator Bond                                          $   -
                                    5. Miscellaneous                                                    $   -
                                    6.Federal Account for Investor Restitution (FAIR)
                                    Reporting Expenses                                                  $   -
                                   Total Plan Implementation Expenses                                                           $                -
                                  Total Disbursements for Distribution Expenses Paid by the Fund                                $                -
               Line 12      Disbursements to Court/Other:
                   Line 12a    Investment Expenses/Court Registry Investment
                            System (CRIS) Fees                                             $
                   Line 12b    Federal Tax Payments                                        $
                              Total Disbursements to Court/Other:                                                               $                -




                                  Total Funds Disbursed (Lines 9— 11):                                                          $      6,585,318,03
               Line 13          Ending Balance (As of 12/31/2018);                                                              $    21,251,514.93




                                                                                1
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                               STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership)
                                                                      SEC v. Quiros, etal.
                                                                 Case No.: 16-cv-21301-GAYLES
                                                            Reporting Period 07/01/2018 to 12/31/2018



               Line 14        Ending Balance of Fund — Net Assets:                                                                                          $                        .
                   Line 14a      Cash & Cash Equivalents                                                      $                    -
                   Line 14b      Investments                                                                  $              _.,   -
                   Line 14c      Other Assets or Uncleared Funds                                              $                    -
                               Total Ending Balance of Fund — Net Assets                                                                                    $                        -


               OTHER SUPPLEMENTAL INFORMATION:
                                                                                                                         Detail              Subtotal           Grand Total
                              Report of Items NOT To Be Paid by the Fund;
               Line 16        Disbursements for Plan Administration Expenses Not Paid by the Fund:
                   Line 15a      Plan Development Expenses Not Paid by the Fund:
                                 1, Fees:
                                      Fund Administrator.......................................               $                    -
                                      IDc                                                                     $                    -
                                      Distribution Agent .                                                    $                    -
                                      Consultants                                                             $
                                      Legal Advisers                                    .                     $
                                      Tax Advisers                                                            $
                                 2. Administrative Expenses                                                   $                    -
                                 3. Miscellaneous                                                             $
                                 T.PJP!?1,P.13..9.P..v.PiPP.Mcf.l.l..c.11.P.cf.1§..§...W..P.Alq..P.Y.P., P f.WI.q...                         —...........   $                        -
                   Line 15b      Plan Implementation Expenses Not Paid by the Fund:
                                 1. Fees:
                                      Fund Administrator                                        $                                  -
                                      IDC                                                       $                                  -
                                      Distribution Agent                                        $                                  -
                                      Consultants                                               $                                  -
                                      Legal  Advisers                                           $                                  -
                                      Tax Advisers                                              $                                  -
                                 2, Administrative Expenses                                     $                                  -
                                 3. Investor Identification:
                                      Notice/Publishing Approved Plan                           $                                  -
                                      Claimant Identification .................. .............. $                                  -
                                      Claims Processing       .                                 $                                  -
                                      Web Site Maintenance/Call Center                          $                                  -
                                  4, Fund Administrator Bond                                    $                                  -
                                  5. Miscellaneous                                              $                                  -
                                  6. FAIR Reporting Expenses                                    $                                  -
                                 Total Plan Implementation Expenses Not Paid by the Fund                                                                    $                            -
                   Line 15c      Tax Administrator Fees & Bonds Not Paid by the Fund                                                                        $                            -
                                Total Disbursements for Plan Administration Expenses Not Paid by the Fund                                                   $                            -

               Line 16        Disbursements to Court/Other Not Paid by the Fund
                   Line 16a       Investment Expenses/CR1S Fees                                                $
                   Line 16b       Federal Tax Payments                                                         $                   -
                                Total Disbursements to Court/Other Not Paid by.the Fund:                                                                           .......................
               Line 17        DC & State Tax Payments                                                                                                       $                            -

               Line 18        No. of Claims:
                   Line 18a       # of Claims Received This Reporting Period                                                                                0
                   Line 18b    # of Claims Received Since Inception of Fund                                                                                 0
               Line 19      No. of Claimants/Investors:
                   Line 19a    # of Claimants/Investors Paid This Reporting Period                                                                          0
                   Line 19b    # of Claimants/Investors Paid Since Inception of Fund                                                                        0


                                                                                                              Receiver:

                                                                                                              By: /s/ Michael I. Goldberg
                                                                                                                      (signature)

                                                                                                                       Michael I. Goldberg
                                                                                                                        (printed name)

                                                                                                                       Court Appointed Receiver
                                                                                                                       (title)

                                                                                                               Date: 3/1 9/19




                                                                                                2
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  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  7/01/18 through 7/31/18



                                                                         USD
   Beginning Cash Balance
       People's United Bank 4=-1736                                          3,937,244
       People's United Bank MII-1752
       People's United Bank 4I-7175                                              21,058
       People's United Bank/M-0659                                              937,856
       People's United Bank 41M-0667
       People's United Bank #J6722                                             1,564,127
       People's United Bank
       People's United Bank       6726                                           60,733
       People's United Bank       6724                                           10,043
       Desjardins #102955                                                       397,870
       Desjardins #103548
                                                                               6,928,931

   Add incoming:
       Receiver Funding
             Direct - Merrill Lynch Bank Accounts
             Indirect - CitiBank Accounts                                      1,265,240
       Deposits from Operations                                                2,824,277   A
                                                                               4,089,517


   Less Outgoing:
        Payroll & Benefits
               Jay Peak Resort                                               (1,417,835)
               Burke Mountain                                                  (296,503)
        Vendor Payments
               Jay Peak Resort                                               (2,061,936) I
               Burke Mountain                                                  (403,031) I
        Tax Payments
               Vermont Department of Taxes                                     (140,274)
               Internal Revenue Service                                            (401)
        Merchant and Bank Fees                                                  (41,262)
                                                                             (4,361,242)


   Ending Cash Balance
       People's United Bank #-1736                             $               3,651,174
       People's United Bank hMI-1752                           $                     -
       People's United Bank MII-7175                           $                  21,061
       People's United Bank      -0659                         $                 947,445
       People's United Bank 11111-0667                         $                     -
       People's United Bank l,6722                             $               1,610,966
        People's United Bank fMIII1175                         $
        People's United Bank .6726                             $                  41,523
        People's United Bank l,6724                            $                   4,797
        Desjardins M955                                        $                 380,240
        Desjardins MI548                                       $                     -
                                                               $               6,657,206



   Note A:
   Canadian transactions have been converted to US Dollars based upon the following methodology:

   The Canadian portion of total resort deposits was calculated to be 7% for the report period. This
   percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .77 for the
   report period.
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  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  8/01/18 through 8/31/18



                                                                         USD
   Beginning Cash Balance
       People's United Bank        1736                                       3,651,174
       People's United Bank .1111752
       People's United Bank 1111117175                                           21,061
       People's United Bank 111110659                                           947,445
       People's United Bank /11110667
       People's United Bank         6722                                       1,610,966
       People's United Bank /111175
       People's United Bank MIIII6726                                            41,523
       People's United Bank /IIIII16724                                           4,797
       Desjardins 41111955                                                      380,240
       Desjardins 4548
                                                                               6,657,206

   Add Incoming:
       Receiver Funding
             Direct - Merrill Lynch Bank Accounts
             Indirect - CitiBank Accounts                                        576,331
       Deposits from Operations                                                3,852,173 A
                                                                               4,428,504

   Less Outgoing:
       Payroll & Benefits
              Jay Peak Resort                                                (1,359,749)
              Burke Mountain                                                   (261,434)
       Vendor Payments
              Jay Peak Resort                                                 (1,459,660) I
              Burke Mountain                                                    (343,297) I
       Tax Payments
              Vermont Department of Taxes                                       (264,369)
              Internal Revenue Service                                              (179)
       Merchant and Bank Fees                                                    (53,760)
                                                                              (3,742,448)

   Ending Cash Balance
        People's United Bank IM11736                           $               3,953,176
        People's United Bank 1111111752                        $                      -
        People's United Bank #M7175                            $                  21,065
        People's United Bank 4M10659                           $                 959,892
        People's United Bank 111.10667                         $                      -
        People's United Bank 11111116722                       $               1,857,535
        People's United Bank l.1175                            $
        People's United Bank l.6726                            $                  57,303
        People's United Bank 1111116724                        $                   9,292
        Desjardins 1E955                                       $                 484,999
        Desjardins 1E548                                       $                      -
                                                               $               7,343,262



   Note A:
   Canadian transactions have been converted to US Dollars based upon the following methodology:

   The Canadian portion of total resort deposits was calculated to be 9% for the report period. This
   percentage was applied to all resort deposits at the average CON to USD currency exchange rate of .77 for the
   report period.
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  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  9/01/18 through 9/30/18



                                                                         USD
  Beginning Cash Balance
       People's United Bank 1=1736                            $               3,953,176
       People's United Bank 1111111752                        $
       People's United Bank 47175                             $                  21,065
       People's United Bank 1111110659                        $                 959,892
       People's United Bank 11111110667                       $                     -
       People's United Bank 10111.6722                        $               1,857,535
       People's United Bank ii1175                            $                     -
       People's United Bank /11111116726                      $                  57,303
       People's United Bank i.6724                            $                   9,292
       Desjardins #M955                                       $                 484,999
       Desjardins 111548                                      $                      -
                                                               $               7,343,262

   Add Incoming:
       Receiver Funding
             Direct - Merrill Lynch Bank Accounts
             Indirect - CitiBank Accounts                                        748,660
       Deposits from Operations                                                3,102,551 A
                                                                               3,851,211


   Less Outgoing:
       Payroll & Benefits
              Jay Peak Resort                                                (1,162,128)
              Burke Mountain                                                   (248,032)
       Vendor Payments
              Jay Peak Resort                                                (1,924,429) II
              Burke Mountain                                                   (299,811) I
       Tax Payments
              Vermont Department of Taxes                                       (207,843)
              Internal Revenue Service                                              (287)
       Merchant and Bank Fees                                                    (72,254)
                                                                              (3,914,784)


   Ending Cash Balance
        People's United Bank t=1736                                            3,721,029
        People's United Bank       1752
        People's United Bank 4i7175                                               21,068
        People's United Bank 4..0659                                             958,522
        People's United Bank       0667
        People's United Bank 11111.116722                                      2,008,184
        People's United Bank ti=l1175
        People's United Bank 11=6726                                              63,224
        People's United Bank i,6724                                               11,685
        Desjardins tin 955                                                       495,977
        Desjardins M548
                                                                               7,279,689



   Note A:
   Canadian transactions have been converted to US Dollars based upon the following methodology:
   The Canadian portion of total resort deposits was calculated to be 6% for the report period. This
   percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .77 for the
   report period.
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   Jay Peak Resort/Burke Mountain
   Cash Flow Statement
   10/01/18 through 10131/18



                                                                         USD
   Beginning Cash Balance
       People's United Bank 40E1736                           $               3,721,029
       People's United Bank 111111752                         $
       People's United Bank 17=7175                           $                   21,068
       People's United Bank        0659                       $                  958,522
       People's United Bank IIIIII0667                        $                      -
       People's United Bank46722                              $                2,008,184
       People's United Bank ti1175                            $
       People's United Bank #1=116726                         $                   63,224
       People's United Bank46724                              $                   11,685
       DesjardinsM955                                         $                  495,977
       Desjardins MI548                                       $                      -
                                                              $                7,279,689

   Add Incoming:
       Receiver Funding
             Direct - Merrill Lynch Bank Accounts
             Indirect - CitiBank Accounts                                        796,156
       Deposits from Operations                                                4,071,855 A
                                                                               4,868,011

   Less Outgoing:
       Payroll & Benefits
              Jay Peak Resort                                                (1,636,542)
              Burke Mountain                                                   (357,129)
       Vendor Payments
              Jay Peak Resort                                                 (4,636,259) I
              Burke Mountain                                                    (731,579) I
       Tax Payments
              Vermont Department of Taxes                                       (145,432)
              Internal Revenue Service                                              (193)
       Merchant and Bank Fees                                                    (61,045)
                                                                              (7,568,179)

   Ending Cash Balance
        People's United Bank        1736                       $               2,620,967
        People's United Bank 411111111752                      $                     -
        People's United Bank        7175                       $                  21,072
        People's United Bank        0659                       $                 492,325
        People's United Bank 11=0667                           $
        People's United Bank 1t..116722                        $                 896,260
        People's United Bank 11.1111175                        $
        People's United Bank #1111116726                       $                  47,495
        People's United Bank          6724                     $                   3,315
        Desjardins41.1955                                      $                 498,087
        Desjardins 1E548                                       $                      -
                                                               $               4,579,521



   Note A:
   Canadian transactions have been converted to US Dollars based upon the following methodology:
   The Canadian portion of total resort deposits was calculated to be 5% for the report period. This
   percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .77 for the
   report period.


   NMI
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  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  11/01/18 through 11/30/1.8



                                                                         USD
   Beginning Cash Balance
       People's United Bank       1736                        $                2,620,967
       People's United Bank 11111111752                       $
       People's United Bank #M7175                            $                  21,072
       People's United Bank 111110659                         $                 492,325
       People's United Bank        0667                       $                     -
       People's United Bank #IIIIII6722                       $                 896,260
       People's United Bank IMIII1175                         $
       People's United Bank 1/6726                            $                  47,495
       People's United Bank 1=r6724                           $                   3,315
       Desjardins M955                                        $                 498,087
       Desjardins 111548                                      $                      -
                                                              $                4,579,521

   Add Incoming:
       Receiver Funding
             Direct - Merrill Lynch Bank Accounts
             Indirect - CitiBank Accounts                                        208,229
       Deposits from Operations                                                3,776,062    A
                                                                               3,984,291

   Less Outgoing:
        Payroll & Benefits
               Jay Peak Resort                                               (1,315,672)
               Burke Mountain                                                  (279,975)
        Vendor Payments
               Jay Peak Resort                                               (2,423,174) I
               Burke Mountain                                                  (388,465) I
        Tax Payments
               Vermont Department of Taxes                                      (228,033)
               Internal Revenue Service                                             (479)
        Merchant and Bank Fees                                                   (85,082)
                                                               $              (4,720,880)

   Ending Cash Balance
       People's United Bank #4=11.736                          $               1,849,078
       People's United Bank 4IIII1752                          $
       People's United Bank 47175                              $                  21,075
       People's United Bank #=0659                             $                 569,846
       People's United Bank 441111110667                       $
       People's United Bank l6722                              $                 832,333
       People's United Bank41111.11175                         $
       People's United Bank l,6726                             $                  54,820
       People's United Bank 1116724                            $                   7,599
       Desjardins 1E955                                        $                 508,181
       Desjardins 111548                                       $                     -
                                                               $               3,842,932



   Note A:
   Canadian transactions have been converted to US Dollars based upon the following methodology:

   The Canadian portion of total resort deposits was calculated to be 12% for the report period. This
   percentage was applied to all resort deposits at the average CON to USD currency exchange rate of .76 for the
   report period.
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  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  12/01/18 through 12/31/18



                                                                         USD
  Beginning Cash Balance
       People's United Bank hM1736                             $              1,849,078
       People's United Bank .1.11752                           $
       People's United Bank    ism
                                 7175                          $                 21,075
       People's United Bank 1=0659                             $                569,846
       People's United Bank tJ=0667                            $
       People's United Bank411.116722                          $                832,333
       People's United Bank #11.175                            $
       People's United Bank t16726                             $                 54,820
       People's United Bank t2111.6724                         $                  7,599
       Desjardins 401955                                       $                508,181
   ,   Desjardins MI548                                        $                    -
                                                               $               3,842,932


  Add Incoming:
       Receiver Funding
             Direct - Merrill Lynch Bank Accounts
             Indirect - CitiBank Accounts                                        855,950
       Deposits from Operations                                                7,807,587 A
                                                                               8,663,537


   Less Outgoing:
        Payroll & Benefits
             Jay Peak Resort                                                  (1,894,787)
             Burke Mountain                                                     (391,849)
       Vendor Payments
             Jay Peak Resort                                                  (2,899,541) I
             Burke Mountain                                                     (444,722) I
       Tax Payments
             Vermont Department of Taxes                                        (308,716)
             Internal Revenue Service                                               (116)
       Merchant and Bank Fees                                                    (79,284)
                                                                              (6,019,015)


   Ending Cash Balance
        People's United Bank tM1736                            $               4,843,720
        People's United Bank 4=1752                            $
        People's United Bank PIIIII7175                        $                  21,079
        People's United Bank #0659                             $                 613,903
        People's United Bank 1111110667                        $
        People's United Bank#1111116722                        $                 461,032
        People's United Bank #11175                            $
        People's United Bank WIIIIII6726                       $                  50,335
        People's United Bank 1111111116724                     $.                 13,708
        Desjardins 11.1955                                     $                 483,677
        Desjardins 1E548                                       $                      -
                                                               $               6,487,454



   Note A:
   Canadian transactions have been converted to US Dollars based upon the following methodology:
   The Canadian portion of total resort deposits was calculated to be 7% for the report period. This
   percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .74 for the
   report period.
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   Jay Peak Resort/Burke Mountain
   Cash Flow Statement
   110103 through 1/31/19



                                                                         USD
   Beginning Cash Balance
       People's United Bank 1111101736                                        4,843,720
       People's United Bank #M1752
       People's United Bank 4iM7175                                              21,079
       People's United Bank tIIIIII0659                                         613,903
       People's United Bank 411.II0667
       People's United Bank 1=16722                                             461,032
       People's United Bank h111175
       People's United Bank 416726                                               50,335
       People's United Bank #I=16724                                             13,708
       Desjardins 44.1955                                                       483,677
       Desjardins #1111548
                                                                               6,487,454


   Add Incoming:
       Receiver Funding
             Direct - Merrill Lynch Bank Accounts
             Indirect - CitiBank Accounts                                       145,850
       Deposits from Operations                                              10,328,279 A
                                                                             10,474,129


   Less Outgoing:
       Payroll & Benefits
              Jay Peak Resort                                                (2,454,190)
              Burke Mountain                                                   (467,369)
       Vendor Payments
              Jay Peak Resort                                                (4,197,931) I
              Burke Mountain                                                   (681,356) I
       Tax Payments
              Vermont Department of Taxes                                       (534,575)
              Internal Revenue Service                                            (3,233)
       Merchant and Bank Fees                                                   (173,408)
                                                                             (8,512,062)


   Ending Cash Balance
        People's United Bank 41111111736                                       6,081,326
        People's United Bank #111.11752
        People's United Bank       7175                                           21,083
        People's United Bank MI10659                                             814,927
        People's United Bank       0667
        People's United Bank -116722                                             940,317
        People's United Bank t111.1.75
        People's United Bank II6726                                               43,854
        People's United Bank i76724                                               28,011
        Desjardins 11E955                                                        520,003
        Desjardins1111548
                                                                               8,449,521



   Note A:
   Canadian transactions have been converted to US Dollars based upon the following methodology:
   The Canadian portion of total resort deposits was calculated to be 12% for the report period. This
   percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .75 for the
   report period.
